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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

HUGO GALVAN                                     §
Plaintiff                                       §
                                                §
v.                                              §        CIVIL ACTION NO. 5:17-CV-608
                                                §
DOUGLAS SABIN and AMERICAN                      §
CINEMA EQUIPMENT COMPANY,                       §
INC.                                            §
Defendants                                      §

                                    NOTICE OF REMOVAL

 TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Defendant, AMERICAN CINEMA

 EQUIPMENT, INC., erroneously sued as AMERICAN CINEMA EQUIPMENT COMPANY,

 INC., respectfully removes the above-captioned action, presently pending in the 166th Judicial

 District Court of Bexar County, Texas, to the United States District Court for the Western

 District of Texas, San Antonio Division. As grounds for removal to this Court, Defendant states

 as follows:

        1.       On June 1, 2017, Plaintiff, Hugo Galvan (“Plaintiff”) commenced a civil action

 against Defendant for alleged personal injuries in the 166th Judicial District Court, Bexar County,

 Texas by filing his Original Petition bearing Cause No. 2017CI10024 (“State Court Action”).

        2.       On June 19, 2017, Defendant, AMERICAN CINEMA EQUIPMENT, INC.,

 erroneously sued as AMERICAN CINEMA EQUIPMENT COMPANY, INC., was served with

 a citation and a copy of Plaintiff’s Original Petition. Defendant timely answered the State Court

 Action on June 30, 2017. Therefore, this Notice of Removal is being filed within thirty (30) days

 in accordance with 28 U.S.C. § 1446(b).
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       3.       Plaintiff is an individual residing in Bexar County, Texas. (Orig. Pet. at ¶ 2, Ex.

A). For purposes of diversity jurisdiction, Plaintiff is a citizen of Texas.

       4.       Defendant American Cinema Equipment, Inc. is a domestic business corporation

with its principal place of business in Portland, Multnomah County, Oregon. For purposes of

diversity jurisdiction, Defendant American Cinema Equipment, Inc. is a citizen of the State of

Oregon.

       5.       Defendant Douglas Sabin is an individual who resides in Portland, Multnomah

County, Oregon. At the time of the filing of this Notice of Removal, Douglas Sabin has not yet

been served with this lawsuit. For purposes of diversity jurisdiction, Defendant Douglas Sabin is

a citizen of the State of Oregon.

       6.       Complete diversity of citizenship exists between the parties to this action

pursuant to and in accordance with the requirements of 28 U.S.C. § 1332, which confers original

subject matter jurisdiction upon this Court.

       7.       The amount in controversy in this matter exceeds $75,000.00, as required for

diversity jurisdiction under 28 U.S.C. § 1332. In his Original Petition, Plaintiff alleges that he

suffered bodily injuries as a result of the collision made the basis of his lawsuit. He alleges that

he has suffered and may continue to suffer into the future physical pain and mental anguish and

has incurred medical care expenses in the past and may incur such in the future for treatment of

his injuries. (Orig. Pet. at ¶ 16).   Additionally, “…Plaintiff seeks monetary relief in excess of

$1,000,000.00…” (Orig. Pet. at ¶ 17).

       8.       At the time of filing of this Removal, this matter was pending in Bexar County,

Texas. Accordingly, the San Antonio Division of the Western District of Texas is the proper

district and division for the removal of this matter. See 28 U.S.C. § 1446(a).




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       9.       Defendant consents to the removal of this case to federal court and is currently

represented by the undersigned counsel.

       10.      Promptly after filing this Notice of Removal, Defendant will give written notice

to Plaintiff and file a copy of the Notice of Removal with the Clerk of Court of the 166th Judicial

District Court, Bexar County, Texas, as required by 28 U.S.C. § 1446(d).

       11.      Copies of the documents required to be filed with this Notice of Removal are

attached hereto as Exhibits A – D.

       WHEREFORE, Defendant respectfully prays this case be removed to the United States

District Court for the Western District of Texas, San Antonio Division, and for any further relief

this Court deems just and appropriate.

Dated: July 7, 2017                             Respectfully submitted,



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                                                ATTORNEYS FOR DEFENDANT,
                                                AMERICAN CINEMA EQUIPMENT, INC.




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                                CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document was electronically filed with the clerk of the
court using the CM/ECF system. Pursuant to Fed. R. Civ. P. 5(a)-(d), all counsel of record not
deemed to have consented to electronic service will be served with a true and correct copy of the
foregoing by mail, United States Postal Service on this 7th day of July, 2017.

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                                             /s/ Ronald E. Mendoza
                                            RONALD E. MENDOZA
                                            BRANDON E. STREY




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